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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


     PLAINTIFFS’ NOTICE OF FILING DECLARATIONS OF HARRI
                 HURSTI AND KEVIN SKOGLAND


      Plaintiffs’ jointly give notice of the filing of the Declaration of Harri Hursti,

attached as Exhibit A, and the Declaration of Kevin Skogland, filed separately and

provisionally under seal. Mr. Hursti’s Declaration contains his observations of

Fulton County’s attempts on October 1, 2020 to install the new software on Fulton

County’s BMDs. Mr. Skogland’s Declaration addresses the inadequacy of Pro

V&V’s analysis and testing of Dominion’s recently rewritten software that is

currently being installed on every Georgia BMD on a rushed basis. Mr.

Skogland’s Declaration is filed provisionally under seal only because it concerns

the Pro V&V letter (Doc. 939) which was provisionally filed under seal by

Defendants’ counsel. As shown in the emails attached as Exhibit B, Plaintiffs’
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counsel have repeatedly requested that Defendants’ counsel withdraw the

confidential (or AEO) designation of the Pro V&V letter, but have received no

response. There is no basis to file the Pro V&V letter under seal.

      Respectfully submitted this 4th day of October, 2020.


/s/ Bruce P. Brown                           /s/ Robert A. McGuire, III
Bruce P. Brown                               Robert A. McGuire, III
Georgia Bar No. 064460                       Admitted Pro Hac Vice
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                   Counsel for Coalition for Good Governance


/s/ Cary Ichter
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 Counsel for William Digges III, Laura Digges, Ricardo Davis & Megan Missett




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      Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 3 of 25




 /s/ David D. Cross                       /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)            Halsey G. Knapp, Jr.
John P. Carlin (pro hac vice)            GA Bar No. 425320
Lyle P. Hedgecock (pro hac vice)         Adam M. Sparks
Mary G. Kaiser (pro hac vice)            GA Bar No. 341578
Robert W. Manoso (pro hac vice)          KREVOLIN & HORST, LLC
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   Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg




                                     3
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ Bruce P. Brown
                                            Bruce P. Brown




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




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                         DECLARATION OF HARRI HURSTI

      Pursuant to 28 U.S.C. § 1746, HARRI HURSTI declares under penalty of

perjury that the following is true and correct:

      1.        This declaration supplements my prior declarations (Docs. 680-1,

800-2, 809-3, 860-1, 877, and 923-2) a nd I stand by the statements in those

declarations.

      2.        I arrived at the Fulton County Election Preparation Center (“EPC”) on

October 1, 2020 around 3:45pm. I was there in my capacity as an expert engaged by

the Coalition Plaintiffs to conduct a Rule 34 inspection. (Exhibit 1) . I was

accompanied during part of my visit by Marilyn Marks of Coalition for Good

Governance.

      3.        My goal for this observation and inspection was to review the ongoing

updating of the Dominion software for Fulton County ballot marking device

("BMD") touchscreen units to ICX software version 5.5.10.32. It is my

understanding that Fulton has an inventory of over 3,300 BMD touchscreens, all of

which are to be updated with this software. A number of the machines were in the

EPC warehouse and were staged to be updated or marked after the update had been

completed.

       4.       Upon our arrival, Ms. Marks and I were informed by Derrick Gilstrap,

the manager of EPC, that all of the people working to upgrade the devices were


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Dominion technicians. Mr. Gilstrap stated that he did not feel comfortable

installing a last-minute software change, and did not want Fulton County staff to

be responsible for installing it. He told us that he told Dominion to conduct this

operation, prior to having his staff install the November 2020 election

programming and Logic and Accuracy testing (“LAT”).

      5.     Mr. Gilstrap told us that after the software update step that LAT

would immediately begin, and made no mention of Acceptance Testing that should

occur prior to LAT.

      6.     Acceptance Testing is an almost universally mandated basic test of

the hardware and software when a change or repair to either has been made before

counties are permitted to install election programming and deploy voting system

components. Acceptance testing must be performed on each unit, and cannot be

performed on a sample basis. Fulton’s failure to conduct such testing should be a

serious warning sign of further recklessness in the installation of inadequately

tested software.

      7.     Mr. Gilstrap stated that Dominion had started the software update

project with four workers, but soon realized that the task would take extended

periods of time. Mr. Gilstrap stated that Dominion had accordingly increased the

workforce to 14 and expected the installation work to be completed on Monday,

October 5.



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       8.     The new software was contained on USB sticks. However, there was

no inventory management present for the USB sticks. There also was no inventory

control for the technician authorization smartcards, which provide access to the

controls of the touchscreen. Workers did not sign or otherwise document when

they took possession or returned the technician cards and software upgrade USB

sticks. Those items were in an open plastic bag which was sometimes placed on

table, and sometimes carried around the working area by the manager. Anyone was

able to pick up a USB stick or drop them there freely, permitting the easy

substitution of USB sticks containing malware or to leave the premises with copies

of the software update.

       9.     Some workers worked one BMD touchscreen machine at the time,

while others simultaneously worked on 2 or 3 machines. There was no

accountability for how many sticks and technician smart-cards each worker had in

their possession. Clearly, the USB sticks were not considered to be security

sensitive items at all.

       10.     Some of the workers had instructions for software update visible in

their pockets, while others did not seem to have the instructions readily available.

One worker showed me the instructions, but it was different from the instructions I

had seen that were sent to the counties. None of the technicians that I observed

were following the instructions as they installed the new software.



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      11.    Technicians were not following a common process, and they all made

their own variations on the workflow. In my experience, this can negatively affect

the quality and reliability of the software installation. Many workers were texting

and making phone calls while working and not focusing on their work. As a result,

I observed repeated human errors such as skipping steps of the process.

      12.    Some workers consistently took an extra step to destroy previous

application data before uninstalling the old version of the software. Uninstalling

software packages results in destroying application data, but that is known to be

unreliable in old versions of Android. The step they took is ensuring, among other

things, destruction of forensic evidence of Fulton’s use of the equipment in prior

elections.

      13.    To avoid destruction of all forensic evidence from the BMDs, a

number of images of the electronic data contained on the BMDs should be taken

from a sample of them before installation of the new software.

      14.    As part of the updating process, the workers are directed to enable the

“Install from Unknown Sources” setting. This is an insecure mode because it turns

off the operating system verification of trusted sources and therefore allows

software from any source to be installed. During the 45 minutes of my observation,

I observed that many units had been left in insecure mode. I estimate 15% of the

units were already in the insecure mode when the work began on them, having


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been left that way during the last software installations, or because of interim

tampering.

      15.     As described before, most workers I observed were not focusing on

the work they were tasked to do, and as result, they were accidentally skipping

steps. I observed that, as result of these human errors, the units were erroneously

left in the insecure mode either by the workers skipping the step to place the

machine into the secure mode after upgrade, or doing the step at such a fast pace

that the system did not register the touch to toggle the switch and the worker did

not stop to verify the action.

      16.     The State Defendants and Dominion have repeatedly overstated the

value of their hash test, but my observation showed that they themselves are not

relying on such test as a control measure. Dominion workers are not even

checking the hash value. I deliberately followed many workers when they

processed the units. During over 45 minutes of observation, none of the workers

took the step of verifying the hash value. Some workers did not realize that the

upgrade had failed and the mistake was only caught by persons who were closing

the cabinets when and if they looked at the software version numbers before

closing the doors.

     17.     I also observed random errors that were not caused by humans. For

example, software sometimes refused to uninstall because the uninstall button was



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       Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 12 of 25




disabled, or the installation silently failed. The technicians treated devices with

issues by simply rebooting them. Technicians made no effort to diagnose or

document the cause of the issues. The casual nature of dealing with the

irregularities caused me to conclude that these abnormal incidents are

commonplace.

      18.    Based on my observations of the software update, I would anticipate

that these machines are likely to behave inconsistently in the polling place,

depending on a number of factors including the care taken in the software

installation process.

      19.    The current abbreviated LAT protocol adopted by Fulton County and

the State cannot be relied on to identify problems created by the new software or

its installation (or other problems with programming and configuration unrelated to

the new software). Even if counties were conducting the full LAT required, it is

but one step that is needed, and is quite insufficient for ensuring the reliability of

the BMD touchscreens—which at the end of the day, simply cannot be done.

      20.    In my professional opinion, the methods and processes of adopting

and installing this software change is completely unacceptable. The methods and

processes adopted by Dominion and Fulton County do not meet national standards

for managing voting system technical problems and remedies, and should not be

accepted for use in a public election under any circumstances.



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      21.    It is important that full details of the software change made be

available for analysis and testing to determine the potential impact of the changes. I

concur with Dr. Halderman’s opinion in Paragraph 8 of his September 28, 2020

declaration (Doc. 923-1), in which he states that if the problem is as limited as

described by Dominion, it could have been addressed with far less risk by the State

without making an uncertified, untested software change.

      22.    In my opinion, the installation of the last-minute software change adds

intolerable risk to the upcoming election, and the simple solution of removing the

BMD units from the process and adopting hand marked paper ballots is imperative.

      23.    I note that I wanted to document the upgrading process, but Mr.

Gilstrap told me that I was prohibited from taking photographs or video. I showed

him the Rule 34 inspection document and pointed out the paragraph permitting

photographing. He read that carefully but told me that he needed to clear that with

his superiors before I could start taking pictures. He never cleared this with his

superiors while we were there.

      I declare under penalty of the perjury laws of the State of Georgia and

the United States that the foregoing is true and correct and that this declaration

was executed this 4th day of October, 2020 in Atlanta, Georgia.

                                        _________________________
                                        Harri Hursti




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                   IN THE UNITED STATES DISTRICT
                 COURT FOR THE NORTHERN DISTRICT
                   OF GEORGIA ATLANTA DIVISION

 DONNA CURLING, ET AL.,                 )
                                        )
              Plaintiffs,               )
                                        )      CIVIL ACTION
 vs.                                    )
                                        )      FILE NO. 1:17-cv-2989-AT
 BRAD RAFFENSPERGER,                    )
         ET AL.,                        )
                                        )
              Defendants.               )

        COALITION PLAINTIFFS’ NOTICE OF RULE 34
   REQUEST FOR EXPEDITED INSPECTION AND COPYING TO
DEFENDANT FULTON BOARD OF REGISTRATIONS AND ELECTIONS

       Pursuant to Rule 34(a) of the Federal Rules of Civil Procedure, Plaintiffs

Coalition for Good Governance, William Digges III, Laura Digges, Ricardo Davis

and Megan Misset (“Coalition Plaintiffs”) request that Defendant Fulton Board of

Registrations and Elections (including, members of the Fulton County Board of

Registration and Elections) (“Fulton Board”) (1) produce and permit the Coalition

Plaintiffs to inspect, copy, test, or sample the items in the Defendants’ possession,

custody, or control that are set out herein; and (2) permit entry onto the designated

land or other property possessed or controlled by the Fulton Board identified herein

so that the Coalition Plaintiffs may inspect, measure, survey, photograph, test or

sample the property or any designated object or operation on it as set out herein.
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                 Items and Operations to be Inspected, Copied, Tested

         The following operations occurring at the following indicated times and places

and the following records related to the September 29, 2020 election are subject of

this Request:

    1. Inspect and observe the operations comprising mail ballot scanning and

       processing activities, including (1) inspection and copying of all electronic

       documents generated or subject to review in the conduct of such activities, (2)

       observation of operations comprising on screen adjudication and remaking of

       ballots by the Vote Review Panel for the September 29, 2020 election at the time

       and place the Review Panel’s activities are conducted. It shall be the

       responsibility of Fulton Board to inform Coalition Plaintiffs’ counsel of the time

       and place of Review Panel meetings.

    2. Inspect and copy digital printouts1 of, and observe adjudication of, ballot images

       flagged for review by the Ballot Review Panel. The inspection and observation

       of the images flagged for review may include the on-screen review of the

       information concerning the vote mark provided via the information icon on the

       screen, and the adjudication notations recorded. If requested, the original ballots

       may be inspected for ballot images of interest to compare the fidelity of the image



1
 Digital printouts for inspection and copying as referenced herein are to include the
Auditmark interpretations made on each ballot image.
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   to the original ballot.

3. Inspect and copy digital printouts of ballot images for September 29, 2020 hand

   marked paper ballots not flagged for adjudication. If requested, the original

   ballots may be inspected for images of interest.

4. Inspect and copy digital printouts of the Vote Review Panel adjudication

   decisions from the audit log/register for the September 29, 2020 election.

5. Inspect, observe, and photograph September 29, 2020 Election Day processing

   of memory cards and ballots, including the upload of memory cards and ballot

   files to the Dominion server and workstations and operation of the EMS system.

   Inspection may begin at the time preparations are made for uploading early voting

   memory cards and continue through the completion of all uploads of memory

   cards.

6. Inspect the mail ballot scanner settings and software threshold settings related to

   detection and recording of ballot marks on hand marked ballots during the

   scanning of September 29, 2020 mail ballots at the Fulton County location where

   such scanning activities occur.

7. Coalition Plaintiffs’ test of mail ballot scanner and adjudication software

   accuracy by Coalition Plaintiffs’ representatives during Fulton Board’s Logic and

   Accuracy Testing. Test will be conducted by Coalition Plaintiffs’ representatives

   hand marking 50 blank ballots to be supplied by Fulton Board for the November
       Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 18 of 25



   3, 2020 election. Testing will include a tabulation of the test ballots on an ICC

   scanner and a review and copying or digital printouts of the resulting ballot

   images, as well as a review of the on screen adjudication results of the 50 ballot

   test batch. The testing and inspection shall be accomplished at a mutually

   agreeable time during Fulton Board’s Logic and Accuracy Testing during the

   week of September 28, 2020.

8. Inspect and observe operations comprising precinct operations in 05J, 07H, 01F,

   01E, and 10C precincts on September 29, 2020, during polling place set up,

   preparation for poll opening, voting and poll closing activities. Observation is to

   include visual access to electronic information displays on the scanners, and

   inspection of scanner settings and operation. Individual voter’s ballots are not

   subject to inspection during a voter’s active voting and ballot casting process.

9. Inspect the production of all electronic or paper reports prepared by election

   officials at 05J, 07H, 01F, 01E, and 10C precincts on September 29, 2020, and

   inspection and copying of all precinct recap and Pollpad reports as soon as they

   are available on September 30, 2020 or October 1, 2020.

10. Inspect and observe operations comprising start-up and operation of the PollPads

   including voter check-in and voter access card encoding procedures, and paper

   ballot lists at the 05J, 07H, 01F, 01E, and 10C precincts on September 29, 2020.

11. Inspect and observe operations comprising start-up and operation of the ballot
          Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 19 of 25



      marking device units at the 05J, 07H, 01F, 01E, and 10C precincts on September

      29, 2020, including the inspection of all on screen messages and displays. All

      such inspections will occur when no voter is using the specific ballot marking

      device being inspected.

   12. Inspect and observe operations comprising mail ballot envelope and mail ballot

      application signature verification processing, including security controls

      beginning at 11:00 a.m. on September 28, 2020, and continuing from time to time

      as Fulton Board undertakes such activities.

   13. Inspect, observe and photograph ongoing Logic and Accuracy Testing of election

      equipment at Fulton County’s Election Preparation Center for the November 3,

      2020 election during the week of September 28, 2020, with visual access

      adequate to read the touchscreens, printouts and scanner output.

                                Conditions for Inspection

A. Coalition Plaintiffs will give Fulton Board’s counsel at least 24 hours’ notice of the

    names and contact information of representatives authorized to conduct the

    inspections.

B. Fulton Board will provide poll managers and EPC staff with a copy of this document

   to avoid inform Fulton Board personnel of the conditions for inspection. Inspectors

   will present a copy of this document to Fulton Board personnel at the assigned

   locations.
          Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 20 of 25



C. Parties will cooperate to share and update times and places of election activities to

   be inspected and the inspection schedule given the fluid nature of election activities.

D. For each inspection activity, Coalition Plaintiffs’ representatives will be permitted

   to have one inspector knowledgeable of the voting system and one representative

   assisting and documenting the inspection work.

E. Photographs, video, electronic and paper copies and printouts of all documents

   related to activities and records inspected are permitted to the extent that they do not

   contain personal identifying information.

F. Inspection and observation include adequate visual access to the activities and

   documents to read screens or paper documents similar to the level of visual access

   of the officials conducting the activities.

G. Coalition Plaintiffs’ representatives shall be subject to the same confidentiality and

   non-disclosure agreements required of the officials conducting the activities

   observed or inspected.

   Dated: September 22, 2020

                                           /s/ Cary Ichter
                                           CARY ICHTER
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        Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 21 of 25



                                     AND

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                                     AND

                                     /s/ Robert A. McGuire, III
                                     Robert A. McGuire, III
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                                     ROBERT MCGUIRE LAW FIRM
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                                     Seattle, Washington 98104-2205
                                     (253) 267-8530

                                     Attorneys for Plaintiffs Coalition for Good
                                     Governance, William Digges III, Laura
                                     Digges, Ricardo Davis, and Megan Missett




                      CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing document has been prepared in accordance
with the font type and margin requirements of LR 5.1, using font type of Times New
Roman and a point size of 14.

                                            /s/ Cary Ichter
      Cary Ichter
      Georgia Bar No. 382515
      Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 22 of 25




                       CERTIFICATE OF SERVICE
      I hereby certify that that on September 22, 2020, Plaintiff Coalition for

Good Governance, by and through its counsel of record, served a true and correct

copy of the following discovery requests – Coalition Plaintiffs’ Notice of Rule

34 Request for Expedited Inspection and Copying to Defendant Fulton Board

of Registrations and Elections - on all counsel of record by electronic delivery

of a PDF version to the following:

                                           /s/ Cary Ichter
                                           Cary Ichter
                                           Georgia Bar No. 382515

Kaye Woodard Burwell                       Bryan P. Tyson
David Lowman                               Jonathan D. Crumly
Cheryl Ringer                              Diane Festin LaRoss
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                                       1
      Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 23 of 25




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            Case 1:17-cv-02989-AT Document 942 Filed 10/04/20 Page 25 of 25


Subject: Re: Doc 939 - Pro V&V Report
Date: Saturday, October 3, 2020 at 6:10:09 PM Eastern Daylight Time
From: Bruce Brown
To:      Cross, David D.
CC:      Vincent Russo, Bryan Tyson, david.lowman@fultoncountyga.gov, Cheryl Ringer, J. MaOhew Maguire
BCC:     Bruce Brown


Bryan and Vincent - we need to hear from you immediately on this.


      On Oct 3, 2020, at 1:27 PM, Cross, David D. <DCross@mofo.com> wrote:


      Please conﬁrm today as our clients are enTtled to review this.

      Thanks.




      From: Bruce Brown <bbrown@brucepbrownlaw.com>
      Date: Saturday, Oct 03, 2020, 12:40 PM
      To: Vincent Russo <vrusso@robbinsﬁrm.com>, Bryan Tyson <btyson@taylorenglish.com>
      Cc: david.lowman@fultoncountyga.gov <david.lowman@fultoncountyga.gov>, Cross, David D.
      <DCross@mofo.com>, Cheryl Ringer <Cheryl.ringer@fultoncountyga.gov>, J. MaOhew Maguire
      <MMaguire@pcwlawﬁrm.com>
      Subject: Doc 939 - Pro V&V Report


      External Email



      Vincent and Bryan –
      I understand that Doc 939 was provisionally ﬁled under seal because of Tme constraints. Upon
      reviewing the document it does not appear that there is anything in it that is conﬁdenTal.
      Please conﬁrm that you will be changing the sealed designaTon of this document and that it
      should be treated like any other non-conﬁdenTal document.
      Thanks,
      Bruce

      ============================================================================

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                                                                                                                  Page 1 of 1
